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                                     ORDERED.

     Dated: October 30, 2018




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
                               www.flmb.uscourts.gov

IN RE:

BARBARA STEPHENS                                   CASE NO.: 6:18-bk-05294-CCJ
                                                   CHAPTER: 7
      DEBTOR(S).
__________________________/

  ORDER GRANTING MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY

       THIS CASE came on for consideration on the Motion for In Rem Relief from Automatic
Stay [DE#7] filed by The Bank of New York Mellon f/k/a The Bank of New York as Trustee
for Home Equity Loan Trust 2007-FRE1 (“Movant”) on October 4, 2018. No appropriate
response having been filed in accordance with Local Rule 2002-4. Accordingly, it is
   ORDERED:
       1.     Movant’s Motion is GRANTED.
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       2.      The automatic stay arising by reason of 11 U.S.C. § 362 of the Bankruptcy Code
is terminated as to Movant’s interest in the following property:
       LOT 26, HIDDEN LAKES SUBDIVISION, PHASE I, ACCORDING TO
       THE PLAT THEREOF AS RECORDED IN MAP BOOK 37, PAGES 121
       AND 122, OF THE PUBLIC RECORDS OF VOLUSIA COUNTY,
       FLORIDA.

Property Address: 1403 N DEXTER DRIVE, PORT ORANGE, FL 32129 (the
“Subject Property”)


       3.      The order granting relief from stay is entered for the sole purpose of allowing
Movant complete in rem relief to take any and all steps necessary to exercise any and all rights it
may have in the collateral, to gain possession of said collateral, to have such other and further in
rem relief as is just, and that Movant (contingent upon the Debtor receiving a discharge in this
case) shall not obtain in personam relief against the debtor.
       4.      The stay imposed by Fed. R. Bankr. P. 4001(a)(3) is waived.




Attorney, Jeffrey S. Fraser, Esq. is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of the entry of the
order.




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